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           EXHIBIT A
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                                       TO Objections to PSC List of Sample 300 Exhibits
Exhibit Date        Bates Range                 Description                                 Objection(s)
596     3/31/2009   BP-HZN-2179MDL0330768-      Well Control Handbook
                    1163
597      2/15/2008 BP-HZN-IIT-002370-2741; BP- DWH Emergency Response Manual
                    HZN-MBI00131953-2325
670      2/10/2010 BP-HZN-2179MDL00833501       Emails Guide-Johnson RE: BOP Incident
                                                Involving McWhorter
684      3/18/2010 BP-HZN-2179MDL00289217       Emails Guide-Johnson RE: Hazard
                                                Recognition
923      4/14/2010 TRN-USCG-MMS-0038609-59; Moduspec USA Rig Condition Assessment
                    TRN-MDL-00038591-677
925      11/30/2009 TRN-USCG-MMS-0032700-       Company Management System
                    3035; TRN-MDL-00032700-
                    3035
926      4/14/2010 TRN-USCG-MMS-00043222-       Operations Advisory- Loss of Well Control
                    25; TRN-MDL-00273897-900    During Upper Completion
**929    3/9/2010   TRN-HCEC-0090493-685;       Lloyd’s Register Safety Mgmt. and Safety    FRE 801/802: Hearsay.
                    TDD006-000505-697           Culture/Climate Reviews Summary Report
**932    3/16/2010 TRN-MDL-00291896-907         Safety Mgmt. and Safety Culture/Climate     FRE 403: Cumulative of Exhibit 929, and
                                                Reviews Powerpoint                          uses only portions of the full report.

                                                                                            FRE 801/802: Hearsay.
939      2/19/2008   TRN-USCG-MMS-00033216-        ISM/ISPS MODU Handbook
                     81; TRN-MDL-00033216-81
**1158   10/1/2007   BP-HZN-MBL00038925-31    Email from Coltrin w/ Attached Letter and     FRE 801/802: Hearsay.
                                              Proposal for DW BOP Risk Assessment
                                              Cortez Bank from Ng
1178     Unknown     TRN-USCG-MMS-39812; TRN- Amended Response to 6/25/2010 Subpoena
                     MDL-00039662
**1182   9/2/2010    TRN-MDL-00501869-71      Emails Babineaux-Stringfellow-Kent RE:        FRE 801/802: Hearsay.
                                              TOI DWH N-line inspection
1193     2/2010      None                     Rig Move Work List
**1404   3/15/2010   BP-HZN-2179MDL00044180-  Emails Bellow-Bennett RE: Reevaluating        FRE 801/802: Hearsay.
                     82                       how to manage real time PPD
1425     4/19/2010   BP-HZN-MBL00191720-26    Daily Operations Report
                                                                                                                                  1
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                                       TO Objections to PSC List of Sample 300 Exhibits
1426     4/20/2010 TRN-MDL-00466859-63          Daily Drilling Report
1441     2/9/2010   TRN-MDL-00481481-88         NAM Level II Investigation Report Draft
1523     4/5/2010   TRN-USCG-MMS-00042595-      Well Operations Group Advisory-
                    96; TRN-MDL-00273270-71     Monitoring well control integrity of
                                                mechanical barriers
1525     12/23/2009 TRN-USCG-MMS-00042597-      TO 711 Well Control Incident Powerpoint
                    605; TRN-MDL-00273272-80
**1761   12/23/2009 TRN-MDL-00607583-622        Shell’s Incident Investigation Report      FRE 801/802: Hearsay.
                                                Bardolino Well Control Incident
2194     5/20/2009 TRN-MDL-01146603-07          Emails Archer-Wiseman-Nuttall-McMahan-
                                                Trich RE: Flow show
2195     5/23/2009 TRN-MDL-01240070-78          Email McMahan-Saltiel RE: Drillers
                                                Training Pack w/ Attached Fast Track
                                                Program
2198     3/7/2010   TRN-MDL-01175073-133        Email Clyne-Moro RE: 711 WC Incident w/
                                                Attached Powerpoint
3259     5/16/2007 TRN-MDL-01120767-777         Subsea Maintenance Philosophy Family 400
3287     11/21/2004 TRN-MDL-00119512            Email Hay-DWH Maintenance RE: MOC for
                                                lower ram
3291     3/17/2010 TRN-MDL-00483932-33          Email Hay-Dicello-Johnson RE: BP audit/rig
                                                move
3292     4/6/2010   TRN-MDL-00401409-12         Subsea Equipment Status in Preparation for
                                                2011 OSS
3405     9/24/2009 TRN-MDL-00478589-652         BP DWH Follow Up Rig Audit, Marine
                                                Assurance Audit and Out of Service Period
3419     2/22/2010 TRN-MDL-00303083-84          Emails Kent-McWhorter-Trahan RE:
                                                Tracking BOP issues
3420     2/21/2010 TRN-MDL-00985307-09          Emails Trahan-Kent-McWhorter RE:
                                                Horizon BOP leak
3423     3/17/2010 TRN-MDL-00985611             Emails Kent-Ingram
3431     1/28/2010 TRN-MDL-00896797             Emails Kent-Hay
**3468   4/22/2010 TRN-MDL-00106236-52          Sworn Statement of Patrick Morgan          FRE 801/802: Hearsay.

3586     2/2/2010   TRN-MDL-00396589               Emails: Lindsey-Johnson RE: DWH CMS
                                                   Presentation
                                                                                                                   2
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                                       TO Objections to PSC List of Sample 300 Exhibits
3749     Unknown    TRN-MDL-533207-74           Deepwater Horizon Bridge Procedures Guide
3793     4/5/2010   TRN-MDL-00642011            Well Operations Group Advisory-
                                                Monitoring Well Control Integrity of
                                                Mechanical Barriers
3984     6/14/2001 TRN-MDL-01547876-81          RAM Type BOP Family 401
**4140   11/22/2009 TRN-INV-01138417-22         RMS Gas Detection                         FRE 801/802: Hearsay.

4141     4/10/2008   TRN-MDL-01545921        Request for Exemption
**4256   3/1/2010    None                    Graph of Transocean’s 10 Worst Kicks in        FRE 801/802: Hearsay.
                                             2009
4279     2/20/2010 TRN-MDL-00303064          Emails Kent-McWhorter RE: Slip Joint
                                             Repairs
4309     11/21/2004 TRN-INV-01262577-79      Emails Harrell-Reed with attached Change
                                             Proposal RE: BOP Test Rams
4902     5/16/2010 TRN-INV-00690288-90       Emails Ryan-Johnson-Sannan RE: Macondo
                                             Kick Tolerance
4911     Unknown    TRN-MDL-01851695         Master/OIM Relationship & Master’s
                                             Responsibilities and Authority
7114     4/5/2010   TRN-USCG-MMS-00043226-28 Email Braniff with attached Advisory RE:
                                             Advisory of Procedure for Monitoring
                                             Integrity of Mechanical Barriers
7122     Unknown    TRN-MDL-00868608-12      Drilling Deepwater Wells Powerpoint
**7124   12/23/2009 None                     Shell Incident Investigation Powerpoint RE:    FRE 403: Cumulative of Exhibit 1761,
                                             Transocean S711                                and uses only portions of the full report.

                                                                                            FRE 801/802: Hearsay.
7134     8/20/2004   TRN-MDL-00872232-57          Loss of Well Control and Emergency
                                                  Response Powerpoint RE: August 20, 2004
                                                  Event Sienna Up-1 Exploration Well
**       -           -                            MBI Testimony of Jimmy Harrell            MBI testimony is not admissible in a civil
20013                                                                                       case. See 46 U.S.C.A. § 6308.




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                                   TO Objections to PSC List of Sample 300 Exhibits
**     Unknown   TRN-MDL-00406377-380       Responses from Company Reps and TO        FRE 801/802: Hearsay.
1351                                        workers to Questions posed by Johnson
                                                                                      Designated by the PSC to be offered
                                                                                      against BP. TO objects in the event that
                                                                                      the exhibit is also offered against TO.




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